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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION



In Re: COOK MEDICAL, INC., IVC FILTERS                Case No. 1:14-ml-2570-RLY-TAB
MARKETING, SALES PRACTICES AND                        MDL No. 2570
PRODUCTS LIABILITY LITIGATION


This Document Relates to:

John Franklin, Jr. on behalf of John Franklin, Sr. (Deceased)
1:18-cv-3642-RLY-TAB


                              ORDER DISMISSING CASE

       The Magistrate Judge recommends that this action be dismissed without prejudice

for Plaintiff's failure to appear for a June 6, 2022, status conference and for his failure to

cooperate with counsel in prosecuting this matter. The court, having reviewed the same,

ACCEPTS the Magistrate Judge's recommendation (Filing No. 22307). This case is

hereby DISMISSED WITHOUT PREJUDICE.



SO ORDERED this 20th day of July 2022.



                                                   s/RLY



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